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                        IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF OREGON

 ESTATE OF AARON D. STANTON, by
 DOUGLAS STANTON, Personal                    Case No. 3:23-cv-01767-AN
 Representative, and A. S., a minor, by and
 through her Guardian ad Litem,
 DOUGLAS STANTON,                             DECLARATION OF J. ASHLEE ALBIES
                                              IN SUPPORT OF PLAINTIFFS’
                                              UNOPPOSED MOTION TO EXTEND
                       Plaintiffs,            DEADLINES

      v.

 JOSHUA DYK and CITY OF
 PORTLAND, a municipal corporation,


                      Defendants.




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I, J. Ashlee Albies, do hereby declare:


   1. I am one of the attorneys for Plaintiffs in this matter. I make this declaration in support

       of Plaintiffs’ Unopposed Motion to extend case deadlines.

   2. Depositions have not been completed in this case. I have several depositions in two

       different cases throughout March 2024.

   3. The parties have just begun the discovery process and there is a pending Motion to Strike

       which the Court has not yet decided and will impact the scope of discovery in this case.

       The Parties have not exchanged documents or set depositions yet.

   4. For those reasons, I request an extension of deadlines in this case.

   5. I have conferred with opposing counsel Carey Caldwell, and defendants do not object to

       this motion.

   6. This motion is made in good faith and not for the purpose of delay.



   DATED: March 15, 2024.

                                               s/ J. Ashlee Albies
                                              J. Ashlee Albies, OSB No. 051846
                                              Of Attorneys for Plaintiffs




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UNOPPOSED MOTION TO EXTEND DEADLINES
